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                                               Certificate Number: 03088-TXS-CC-037009383


                                                              03088-TXS-CC-037009383




                    CERTIFICATE OF COUNSELING

I CERTIFY that on November 30, 2022, at 10:52 o'clock AM CST, Aelina
Roman received from Debt Education and Certification Foundation, an agency
approved pursuant to 11 U.S.C. 111 to provide credit counseling in the Southern
District of Texas, an individual [or group] briefing that complied with the
provisions of 11 U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   November 30, 2022                      By:      /s/Tania Roman


                                               Name: Tania Roman


                                               Title:   Counselor I




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
